     Case 2:16-cv-09194-TJH-GJS Document 36 Filed 05/22/17 Page 1 of 10 Page ID #:545



 1

 2

 3

 4

 5

 6

 7

 8                     United States District Court
 9                     Central District of California
10                          Western Division
11

12      CIRRUS EDUCATION, INC., et al.,                    CV 16-09194 TJH (GJSx)
13                         Plaintiffs,
                                                                    Order
14            v.
15      CHRISTOPHER M. ADAMS, et al.,                            [19,21]
16                         Defendants.
17

18

19

20

21           The Court has considered Defendants’ special motion to strike five claims from
22     the Complaint and for attorney’s fees pursuant to Cal. Civ. Code § 425.16 [the “Anti-
23     SLAPP Statute”] and motion to dismiss all claims from the Complaint, together with
24     the moving and opposing papers.
25

26     Special Motion to Strike
27           This case largely concerns a letter sent in 2016 [the “2016 Letter”] by Defendants
28     — Christopher M. Adams, David V. Adams in his capacity as trustee of the Christopher

                                                                         Order – Page 1 of 10
     Case 2:16-cv-09194-TJH-GJS Document 36 Filed 05/22/17 Page 2 of 10 Page ID #:546



 1     Adams Trust, DVA, Inc., and Morgan Adams, Inc. [collectively “Adams”] — to a
 2     stock exchange in the People’s Republic of China. At the time the 2016 Letter was
 3     sent, one of the plaintiffs in this action — Cirrus (Beijing) Corp. [“Cirrus Beijing”]
 4     — had an application for listing on the stock exchange. The 2016 Letter sought to
 5     notify the stock exchange, inter alia, of Adams’s belief that Cirrus Beijing had violated
 6     one of the stock exchange’s rules by failing to disclose an approximately $60 million
 7     judgment. Thereafter, Plaintiffs — Cirrus Ltd., Cirrus Education, Inc., Cirrus Beijing,
 8     and iQ-HUB PTE, Ltd. — filed the instant action. Adams, now, moves to strike five
 9     claims pursuant to the Anti-SLAPP Statute, arguing that the 2016 Letter constituted
10     “conduct in furtherance of a person’s rights to freedom of speech and petition in
11     connection with a public issue[.]”
12           Plaintiffs’ claims, however, are not barred under the Anti-SLAPP Statute because
13     “petitioning activity undertaken in a foreign country is not protected by the”
14     Anti-SLAPP Statute. Guessous v. Chrome Hearts, LLC, 179 Cal. App. 4th 1177, 1186
15     (2009). There is an exception for “statement[s] made in connection with an issue under
16     consideration by a judicial body in the United States,” Summerfield v. Randolph, 201
17     Cal. App. 4th 127, 137 (2011); however, Summerfield does not support the application
18     of the Anti-SLAPP Statute in this case. In Summerfield, the California Court of Appeal
19     held that where a petition is “filed in a foreign court in order to influence the
20     determination of issues pending in a California court” the petition “qualifies for
21     protection under the” Anti-SLAPP Statute.      Summerfield, 201 Cal. App. 4th at 129
22     (emphasis added). Here, the 2016 Letter was sent to influence the determination of
23     Cirrus Beijing’s application pending before the stock exchange in China — not the
24     determination of issues pending in a California court. Accordingly, the Anti-SLAPP
25     statute does not apply to the 2016 Letter .
26

27     Motion to Dismiss
28           Adams (Defendants) were plaintiffs in a Los Angeles Superior Court case filed

                                                                          Order – Page 2 of 10
     Case 2:16-cv-09194-TJH-GJS Document 36 Filed 05/22/17 Page 3 of 10 Page ID #:547



 1     in December, 2007 [the “State Court Action”]. In the State Court Action, Adams sued
 2     a number of individuals and corporations [the “Superior Court Defendants”]. None of
 3     the Superior Court Defendants are parties here. The thrust of the State Court Action
 4     was that the Superior Court Defendants owed Adams money based on Adams’s
 5     involvement with the Superior Court Defendants. After an unopposed trial, the Los
 6     Angeles Superior Court entered a judgment of approximately $62 million.               The
 7     judgment was appealed, and the California Court of Appeal, finding calculation errors,
 8     remanded the case.
 9           Adams raised the issue of alter ego liability at a discovery hearing following
10     remand. There, Adams argued, inter alia, that Cirrus Ltd., a plaintiff in the instant
11     case, was liable for a judgment against the Superior Court Defendants under an alter
12     ego theory. The remaining plaintiffs in this case are three related companies — Cirrus
13     Education, Inc., Cirrus Beijing, and iQ-HUB PTE, Ltd. The alter ego issue, however,
14     was never briefed or expressly ruled upon by the Superior Court.
15           Ultimately, the Superior Court — following a second trial — entered a judgment
16     of approximately $60 million against the Superior Court Defendants. Additionally, the
17     Superior Court found that Plaintiffs in the instant case were “related entities” and
18     “successor entities” to some of the corporate Superior Court Defendants, and that
19     Plaintiffs in the instant case were jointly and severally liable for the judgment.
20     Subsequently, Plaintiffs in the instant case appealed, inter alia, the finding of successor
21     liability to the California Court of Appeal. That appeal is currently pending.
22           On November 9, 2016, following the second trial, Adams sent the 2016 Letter
23     to the National Equities Exchange and Quotations [“NEEQ”], a Chinese stock exchange
24     regulated by the China Securities Regulatory Commission, where Cirrus Beijing had an
25     outstanding application for listing. The 2016 Letter referred to one of the corporate
26     Superior Court Defendants as “[t]he parent company of” and, a “related entity” to,
27     Cirrus Beijing. Further, the 2016 Letter alleged that Cirrus Beijing was liable for
28     approximately $60 million, and that its failure to disclose the judgment was a violation

                                                                           Order – Page 3 of 10
     Case 2:16-cv-09194-TJH-GJS Document 36 Filed 05/22/17 Page 4 of 10 Page ID #:548



 1     of NEEQ’s regulations. Lastly, the 2016 Letter requested that the NEEQ review the
 2     documents attached to the 2016 Letter and “make an appropriate decision with regard[]
 3     to Cirrus [Beijing’s] application for listing on the NE[E]Q, including but not limited to
 4     suspending review of, and rejecting Cirrus [Beijing’s] listing.” Adams attached, inter
 5     alia, an organizational chart — titled “Share [sic] Interest Diagram (as confirmed by
 6     two judgments in the Superior Court of California) depicting Cirrus Beijing as being
 7     owned 100% by “English Exchange HK” [sic], which is shown as owned 100% by one
 8     of the corporate defendants in the Superior Court Action, which is shown as owned
 9     100% by Adams and two Superior Court Defendants.
10           On December 12, 2016, Plaintiffs filed the instant action. Plaintiffs asserted four
11     claims under California law — Defamation, Intentional Interference with Prospective
12     Economic Advantage, Negligent Interference with Prospective Economic Advantage
13     [the “Tort Claims”] and a violation of California’s Unfair Competition Law [“UCL”],
14     Cal. Bus. & Prof. Code §§ 17200, et seq. Plaintiffs, also, asserted a fifth claim for
15     “Declaratory Relief” “establishing that [P]laintiffs . . . and the Superior Court
16     Defendants . . . are not alter egos with respect to any potential claims by . . .
17     [D]efendants.”
18           The Complaint does not specifically state whether the fifth claim seeks
19     declaratory relief under the Declaratory Judgment Act, 28 U.S.C. § 2201, or the
20     California Declaratory Relief Act, Cal. Civ. Code § 1060. The moving and opposing
21     papers assume the Declaratory Judgment Act is the basis for the claim. Accordingly,
22     the Court will apply the Declaratory Judgment Act. Further, the Ninth Circuit has
23     suggested that in diversity cases the Declaratory Judgment Act should apply because
24     “the question whether to exercise federal jurisdiction to resolve the controversy” is “a
25     procedural question of federal law.” Golden Eagle Insurance Co. v. Travelers Cos.,
26     103 F.3d 750, 753 (9th Cir.1996), overruled on other grounds by Gov't Emps. Ins. Co.
27     v. Dizol, 133 F.3d 1220 (1998) (en banc). While the caption identifies “injunctive
28     relief” as a sixth claim, the body of the Complaint does not assert a sixth claim for

                                                                          Order – Page 4 of 10
     Case 2:16-cv-09194-TJH-GJS Document 36 Filed 05/22/17 Page 5 of 10 Page ID #:549



 1     “injunctive relief.”   Thus, the Complaint asserts five claims: a claim under the
 2     Declaratory Judgment Act, and four state law claims.
 3           Defendants move to dismiss the Declaratory Judgment Act claim under Fed. R.
 4     Civ. P. 12(b)(1), and the four state law claims under Fed. R. Civ. P. 12(b)(6).
 5

 6     The Declaratory Judgment Act Claim
 7           The Declaratory Judgment Act provides that “[i]n a case of actual controversy
 8     . . . any court of the United States . . . may declare the rights and other legal relations
 9     of any interested party seeking such declaration . . . .” 28 U.S.C. § 2201(a).
10     Jurisdiction over a Declaratory Judgment Act claim turns on a two-step test. See
11     Principal Life Ins. Co. v. Robinson, 394 F.3d 665, 669 (9th Cir. 2005). First, the
12     Court determines whether there is an actual case or controversy. Robinson, 394 F.3d
13     at 669. “[T]he phrase ‘case of actual controversy’ in the [Declaratory Judgment] Act
14     refers to the type of ‘Cases’ and ‘Controversies’ that are justiciable under Article III.”
15     MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007). Second, if a case or
16     controversy exists, the Court “must decide whether to exercise its jurisdiction by
17     analyzing the factors set out in Brillhart v. Excess Ins. Co., 316 U.S. 491 (1942), and
18     its progeny.” Robinson, 394 F.3d at 669.
19           Article III’s standing requirements limit subject matter jurisdiction, See Warth v.
20     Seldin, 422 U.S. 490, 498–98 (1975), therefore, Article III standing is properly
21     challenged under Fed. R. Civ. P. 12(b)(1). When ruling on a motion to dismiss for
22     lack of standing, the Court must accept as true all material allegations of the complaint,
23     and must construe the complaint in favor of the Plaintiffs. See Warth, 422 U.S. at 501.
24           Adams contends that the claim for declaratory relief is not ripe for adjudication.
25     “The constitutional ripeness of a declaratory judgment action depends upon whether the
26     facts alleged, under all the circumstances, show that there is a substantial controversy,
27     between parties having adverse legal interests, of sufficient immediacy and reality to
28     warrant the issuance of a declaratory judgment.” In re Coleman, 560 F.3d 1000, 1005

                                                                           Order – Page 5 of 10
     Case 2:16-cv-09194-TJH-GJS Document 36 Filed 05/22/17 Page 6 of 10 Page ID #:550



 1     (9th Cir. 2009) (quotations omitted).
 2           Here, the issue of alter ego liability meets the case and controversy requirement.
 3     First, a substantial controversy exists because if Plaintiffs are the alter ego of the
 4     Superior Court Defendants, then Plaintiffs will be liable for the $60 million judgment
 5     from the Superior Court Action. Second, the parties interests are adverse because that
 6     judgment is in favor of Adams. Lastly, the alter ego issue is of sufficient immediacy
 7     because not only has Adams previously stated an intent to enforce the Superior Court
 8     Action judgment against Plaintiffs under an alter ego theory, but also it is unclear
 9     whether the 2016 Letter’s reference to “related entities” is a reference to an alter ego
10     relationship.
11           Nonetheless, at this juncture, the Brillhart factors weigh against proceeding with
12     the Declaratory Judgment Act claim. “The Brillhart factors are non-exclusive and state
13     that, ‘. . . the district court should avoid needless determination of state law issues; .
14     . . it should discourage litigants from filing declaratory actions as a means of forum
15     shopping; and . . . it should avoid duplicative litigation.’” Robinson, 394 F.3d at 672
16     (alterations omitted). “Essentially, the district court must balance concerns of judicial
17     administration, comity, and fairness to the litigants.” Robinson, 394 F.3d at 672
18     (quotations omitted).        Additionally, the Ninth Circuit has noted additional
19     considerations, including:
20

21                 “whether the declaratory action will settle all aspects of
22                 the controversy; whether the declaratory action will serve
23                 a useful purpose in clarifying the legal relations at issue;
24                 whether the declaratory action is being sought merely for
25                 the purposes of procedural fencing or to obtain a ‘res
26                 judicata’ advantage; or whether the use of a declaratory
27                 action will result in entanglement between the federal and
28                 state court systems. In addition, the district court might

                                                                           Order – Page 6 of 10
     Case 2:16-cv-09194-TJH-GJS Document 36 Filed 05/22/17 Page 7 of 10 Page ID #:551



 1                  also consider the convenience of the parties, and the
 2                  availability and relative convenience of other remedies.”
 3

 4           Robinson, 394 F.3d at 672.
 5           Here, Plaintiffs have appealed the Superior Court Action judgment to the
 6     California Court of Appeal. It appears that if that appeal resolves in Adams’s favor —
 7     holding, for example, that Plaintiffs are successor entities to the Superior Court
 8     Defendants — then the alter ego issue will become moot. Thus, the interest in
 9     “avoid[ing] needless determination of state law issues” and “avoid[ing] duplicative
10     litigation” weigh against hearing the Declaratory Judgment Act claim. See Robinson,
11     394 F.3d at 672. Moreover, avoiding parallel decisions on Plaintiffs’ liability — a
12     decision from this Court with respect to alter ego liability and a decision from the
13     California Court of Appeal with respect to successor liability and “related entity”
14     liability — furthers the interest in avoiding “entanglement between the federal and state
15     court systems.” See Robinson, 394 F.3d at 672.
16           Accordingly, the Court will dismiss the declaratory relief claim without
17     prejudice.
18

19     The Tort Claims
20           Dismissal under Fed. R. Civ. P. 12(b)(6) is proper when a complaint exhibits
21     either a “lack of a cognizable legal theory or the absence of sufficient facts alleged
22     under a cognizable legal theory.” Balistreri v. Pacifica Police Dept., 901 F.2d 696,
23     699 (9th Cir. 1988). To sufficiently state a claim, a plaintiff must allege “enough facts
24     to state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly,
25     550 U.S. 544, 570 (2007). Further, all inferences must be drawn in favor of the
26     plaintiff. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
27           Adams argues that the Tort Claims must be dismissed under California’s litigation
28     privilege, codified in Cal. Civ. Code § 47. California’s litigation privilege provides

                                                                           Order – Page 7 of 10
     Case 2:16-cv-09194-TJH-GJS Document 36 Filed 05/22/17 Page 8 of 10 Page ID #:552



 1     that “[a] privileged publication or broadcast is one made . . . [i]n any . . . official
 2     proceeding authorized by law[.]” Cal. Civ. Code § 47(a)–(b). “The usual formulation
 3     is that the privilege applies to any communication (1) made in judicial or quasi-judicial
 4     proceedings; (2) by litigants or other participants authorized by law; (3) to achieve the
 5     objects of the litigation; and (4) that have some connection or logical relation to the
 6     action.” Rusheen v. Cohen, 37 Cal. 4th 1048, 1057 (2006). The litigation privilege
 7     applies to filings in non-United States jurisdictions. See Beroiz v. Wahl, 84 Cal. App.
 8     4th 485, 494 (2000).
 9            With respect to the first element, “[t]he primary factors which determine whether
10     an administrative body possesses a quasi-judicial power for section 47(b) “official
11     proceeding” purposes are: (1) whether the administrative body is vested with discretion
12     based upon investigation and consideration of evidentiary facts, (2) whether it is entitled
13     to hold hearings and decide the issue by the application of rules of law to the ascertained
14     facts, and (3) whether its power affects the personal or property rights of private
15     persons.” Picton v. Anderson Union High Sch. Dist., 50 Cal. App. 4th 726, 737
16     (1996).       The NEEQ powers include the above three items and, therefore, qualifies
17     as a quasi-judicial authority.
18            The remaining elements are met, as well.          There is no contention in the
19     Complaint that Adams was not “authorized by law” to send the 2016 Letter to the
20     NEEQ. Further, the 2016 Letter urged the NEEQ to “make an appropriate decision
21     with regard[] to Cirrus [Beijing’s] application for listing on the NE[E]Q, including but
22     not limited suspending review of, and rejecting Cirrus [Beijing’s] listing.”
23     Consequently, the 2016 Letter was sent to achieve the objects of the litigation —
24     provide evidence for the NEEQ to consider. Lastly, the 2016 Letter was related to the
25     application because, on its face, it sought to alert the NEEQ to a potential violation of
26     its rules.
27            Therefore, the litigation privilege bars the Tort Claims.
28


                                                                           Order – Page 8 of 10
     Case 2:16-cv-09194-TJH-GJS Document 36 Filed 05/22/17 Page 9 of 10 Page ID #:553



 1     The Unfair Competition Law Claim
 2           California’s Unfair Competition Law [“UCL”] proscribes business practices that
 3     are unlawful, unfair, or fraudulent. Cal. Bus. & Prof. Code §§ 17200, et seq. The
 4     UCL applies to injuries occurring outside of California where, as here, “the unlawful
 5     conduct that form[s] the basis of the” claims occurred in California. See Sullivan v.
 6     Oracle Corp., 51 Cal. 4th 1191, 1208 n.10 (2011). For example, the UCL has been
 7     applied where the “plaintiffs’ claims were based on alleged misrepresentations that were
 8     disseminated from California.” Ehret v. Uber Techs., Inc., 68 F. Supp. 3d 1121, 1130
 9     (N.D. Cal. 2014).
10           Plaintiffs allege that Adams engaged in unfair competition. “Unfair competition”
11     is “broadly define[d] as including any unlawful, unfair or fraudulent business act or
12     practice and unfair, deceptive, untrue or misleading advertising.” See Kearns v. Ford
13     Motor Co., 567 F.3d 1120, 1127 (9th Cir. 2009) (quotations omitted). UCL Claims
14     alleging false representations “must satisfy the particularity requirement of Rule 9(b).”
15     Kearns, 567 F.3d at 1126, 1127.
16           Here, in two short sentences, Plaintiffs allege that Adams “engaged in unfair
17     competition” when Adams made “false and defamatory statements in” the 2016 Letter
18     “with the intent of interfering with Cirrus Beijing’s listing application,” and that the
19     letter caused Cirrus Beijing’s prospects to diminish. This, at minimum, fails to allege
20     which statements are alleged under the UCL claim and how those statements constitute
21     unfair competition. Therefore, the Complaint fails to sufficiently state the UCL claim.
22

23           Accordingly,
24

25           It is Ordered that Defendants’ motion to specially strike the Complaint
26     pursuant to California Code of Civil Procedure Section 425.16 be, and hereby is,
27     Denied.
28     //

                                                                          Order – Page 9 of 10
 Case 2:16-cv-09194-TJH-GJS Document 36 Filed 05/22/17 Page 10 of 10 Page ID #:554



 1        It is Further Ordered that Defendants’ motion to dismiss the Declaratory
 2   Judgment Act claim be, and hereby is, Granted without prejudice.
 3

 4        It is Further Ordered that Defendants’ motion to dismiss the claims for
 5   Defamation, Intentional Interference with Prospective Economic Advantage, and
 6   Negligent Interference with Prospective Economic Advantage be, and hereby is,
 7   Granted with prejudice.
 8

 9        It is Further Ordered that Defendants’ motion to dismiss the UCL claim be,
10   and hereby is, Granted without prejudice.
11

12

13

14   Date: May 22, 2017
15                                          ___________________________________
16                                                 Terry J. Hatter, Jr.
17
                                            Senior United States District Judge

18

19

20

21

22

23

24

25

26

27

28


                                                                Order – Page 10 of 10
